       Case 1:21-cv-11269-FDS Document 174 Filed 10/01/22 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS




Estados Unidos Mexicanos
                 Plaintiff
                                              CIVIL ACTION
            V.
                                              NO. 21-11269-FDS


Smith & Wesson Brands, Inc. et al
                Defendant


                             ORDER OF DISMISSAL


Saylor, C. J.


    In accordance with the Court's Memorandum and Order dated September
30, 2022, it is hereby ORDERED that the above-entitled action be and
hereby is DISMISSED.

                                        By the Court,


10/1/2022                                /s/ Flaviana de Oliveira
     Date                                    Deputy Clerk
